

After Remand from the Supreme Court

THOMPSON, Judge.
This court, on January 28, 2000, affirmed the trial court’s judgment, without an opinion. 790 So.2d 368 (Ala.Civ.App.2000) (table). This court’s judgment has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte Littlepage, 796 So.2d 298 (Ala.2001). In compliance with the Supreme Court’s opinion, the judgment of the trial court is reversed and the cause is remanded for further proceedings consistent with the Supreme Court’s opinion.
REVERSED AND REMANDED.
YATES, P.J., and CRAWLEY, PITTMAN, and MURDOCK, JJ., concur.
